        Case 1:24-cv-00263-ARR-CLP Document 4 Filed 01/12/24 Page 1 of 2 PageID #: 20

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                    __________  District
                                                      Eastern District of of
                                                                          New__________
                                                                               York


                       Fredricka Brooks                               )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 24-cv-263 ARR-CLP
                                                                      )
                         Karen Tapper                                 )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See attached rider.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Levin-Epstein & Associates, P.C.
                                           Attn: Joshua Levin-Epstein, Esq.
                                                 Jason Mizrahi, Esq.
                                           60 East 42nd Street, Suite 4700
                                           New York, New York 10165


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                                CLERK OF COURT


Date:    01/12/2024                                                             s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
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                       LEVIN-EPSTEIN & ASSOCIATES, P.C.
_____________________________________________________________________________________________
                       60 East 42nd Street • Suite 4700 • New York, New York 10165
                              T: 212.792-0046 • E: Joshua@levinepstein.com


                                               RIDER


 Karen Tapper
 4901 Fillmore Ave., Brooklyn, NY 11234
 330 Hinsdale St., Brooklyn, NY 11207
